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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

                                              )
SECURITIES AND EXCHANGE                       )
COMMISSION,                                   )
                                              )
       Plaintiff,                             )
                                              )
v.                                            )       Civil No. 20-10860-LTS
                                              )
DAMON ELLIOTT and PIPTASTIC                   )
LIMITED,                                      )
                                              )
       Defendants,                            )
                                              )
DSE RETAIL LIMITED, PAUL ROSE,                )
UNIQUE ASSET MANAGEMENT                       )
LIMITED, and SHARON ELLIOTT                   )
                                              )
       Relief Defendants.                     )
                                              )

     ORDER ON MOTION FOR REMEDIES AS TO DAMON ELLIOTT AND TO AMEND
            FINAL JUDGMENT AS TO PIPTASTIC LIMITED (DOC. NO. 67)

                                           April 8, 2022

SOROKIN, J.

       The Securities and Exchange Commission (“SEC”) brought the present securities fraud

enforcement action against Defendants Damon Elliott (“Elliott”) and Piptastic Limited

(“Piptastic”) and Relief Defendants DSE Retail Limited (“DSE”), Paul Rose, Unique Asset

Management Limited, and Sharon Elliott alleging violations of Section 17(a) of the Securities

Act of 1933 (“Securities Act”) and Section 10(b) and Rule 10b-5 of the Securities Exchange Act

of 1934 (“Exchange Act”). See Doc. No. 1. The Court has since entered partial judgment

against Elliott, which, inter alia, requires him to pay disgorgement of ill-gotten gains,

prejudgment interest, and a civil penalty in an amount to be determined by the Court. Doc. No.
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65. The parties have submitted briefing stating their positions on the proper remedies. After

careful consideration of the parties’ submissions, the Court orders Elliott to pay $5,492,059 in

disgorgement, $856,255 in prejudgment interest, and a civil penalty of $97,523. In addition, the

SEC’s Motion to Amend the Final Judgment as to Piptastic is ALLOWED.

I.     PROCEDURAL HISTORY AND BACKGROUND

       On May 6, 2020, the SEC filed a complaint against Elliott charging him with defrauding

approximately 80 investors to the tune of $9 million. See Doc. No. 1. The SEC and Elliott

agreed to the terms of a judgment whereby Elliott consented to the entry of judgment without

admitting or denying the allegations of the complaint. Doc. No. 63. Pursuant to the parties’

agreement, the Court entered partial judgment against Elliott on September 15, 2021. Doc. No.

65. The judgment enjoined Elliott from committing future violations of Section 17(a) of the

Securities Act of 1933 and Section 10(b) and Rule 10b-5 of the Exchange Act. Doc. No. 65 at 2-

3. The judgment further ordered Elliott to pay disgorgement of ill-gotten gains, prejudgment

interest thereon, and a civil penalty in an amount to be determined by the Court upon a Motion

by the SEC. Id. at 4. In connection with the Court’s remedy determination, the judgment barred

Elliott from “arguing that he did not violate the federal securities laws as alleged in the

Complaint” and stated that the “allegations of the Complaint shall be accepted as and deemed

true by the Court.” Id. at 4. During a status conference on October 7, 2021, the Court set

deadlines for remedy briefing by the parties. Doc. No. 66. The Court briefly recites the

allegations set forth in the SEC’s complaint, which, for the purposes of this Motion, the Court

accepts as true.

       Elliott, who operated through Piptastic as well as other individuals called “finders,”

obtained more than $9 million from investors between January 2016 and May 2019. Doc. No. 1



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¶ 15. The Defendants promised investors that Piptastic would pool their money into investment

funds that would be used for “spread trading.”1 Id. ¶¶ 16, 20-21. At all times relevant to the

SEC’s complaint, Elliott was Piptastic’s director and had sole signatory authority over the pooled

Piptastic investor bank account into which investors’ money was transferred. Id. ¶¶ 9-10, 27

       To attract investments, the Defendants assured investors of Elliott’s spread trading

expertise, promised that Elliott and the finders would make money only if investors profited, and

explained that investor funds were safeguarded against risk. Id. ¶¶ 23-26. These claims were

false. In reality, Elliott “did not use any substantial portion of the investors’ money for spread

trading; nor did he prioritize profits to investors ahead of fees or commissions to himself or

funds; and there were . . . no safeguard procedures of the kind set forth in Piptastic’s investment

agreements[.]” Id. ¶ 27. Instead of using investor funds for spread-trading, Elliott transferred

$6,985,217 in investor funds from the pooled Piptastic bank account to himself, an entity that he

controlled called DSE, his wife, Relief Defendant Paul Rose, an entity controlled by Rose called

Unique Asset Management, and other third parties, all of whom lacked any legitimate right to the

funds. Id.

       In response to questions from investors about the status of their money, Elliott fabricated

account statements, assured investors that the funds were secure, and diverted investors’ funds to

pay other investors. Id. ¶¶ 31-38. Elliott also falsely informed investors seeking to withdraw

their funds that he was barred from doing so due to an “account freeze.” Id. ¶ 36.




1
 Spread trading “refers to speculating on whether the price of a financial instrument—such as a
security; or a commodity, such as a currency—will go up or down, and by how much, without
actually owning the underlying security or commodity.” Doc. No. 1 ¶ 1.
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II.    MOTION FOR REMEDIES

       The SEC filed the present Motion for Remedies requesting that the Court order Elliott to

pay disgorgement of $5,492,059 in ill-gotten gains plus $856,255 of prejudgment interest, and a

“significant” (but unspecified) civil penalty. Doc. No. 68 at 1.

       The SEC’s disgorgement and prejudgment interest calculations are supported by a

Declaration from Mark Albers, a forensic accountant employed by the SEC. See Doc. No. 69.

Albers calculated the disgorgement amount by subtracting the amount of money returned to

Piptastic’s investors from the amount of money initially deposited by investors in order to arrive

at the amount of money retained by the Defendants. See id. ¶¶ 5-14 (explaining Albers’

analysis). Albers then applied an exchange rate to convert the calculation from British pounds to

dollars and performed a prejudgment interest calculation on the net disgorgement numbers. Id.

¶¶ 9-10. The SEC contends that Elliott is jointly and severally liable for the disgorgement

attributable to Piptastic, DSE, and Elliott’s wife, resulting in a total disgorgement amount of

$5,492,059 plus $856,255 of prejudgment interest. In arguing for joint and several liability, the

SEC points out that Elliot was the sole director of Piptastic and DSE and that he maintained

signatory authority over Piptastic’s bank account. See Doc. No. 69 ¶ 5. In addition to the

aforementioned disgorgement and prejudgment interest amounts, SEC requests that the Court

impose the maximum available civil penalty against Elliott. Doc. No. 68 at 9.

       In his opposition to the SEC’s Motion, Elliott does not dispute that he owes disgorgement

and a civil penalty but takes issue with two aspects of the SEC’s request. Specifically, Elliott

contends that he cannot be held liable on a joint and several basis with DSE and Piptastic, and




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that SEC’s request for a maximum-tier civil penalty is unsupported by law. The Court addresses

each of Elliott’s objections in turn.

       A.      Joint and Several Liability

       Elliott contends that the Supreme Court’s recent decision Liu v. SEC curtails courts’

ability to order disgorgement on a joint and several basis. According to Elliott, he cannot be held

jointly and severally liable with Piptastic and DSE absent evidence that the disgorgement

amounts attributable to these entities “also accrued to Elliott.” Doc. No. 72 at 5. Elliott also

argues that he cannot be held jointly and severally liable with Piptastic and DSE because they

have been dissolved. Id. at 6. Elliott’s arguments fail as explained below.

        “Disgorgement serves both to ensure that the perpetuator of a fraud is not unjustly

enriched by the fraudulent act and to deter potential violators.” SEC v. Locke Cap. Mgmt., Inc.,

794 F. Supp. 2d 355, 369 (D.R.I. 2011). The Supreme Court’s recent holding in Liu v. SEC

confirmed that district courts possess authority to order disgorgement in Commission cases. The

Supreme Court held that “a disgorgement award that does not exceed a wrongdoer's net profits

and is awarded for victims is equitable relief permissible” under §78u(d)(5) [Section 21(d)(5) of

the Securities Exchange Act]. Liu v. SEC, 140 S. Ct. 1936, 1940 (2020). The Court has broad

discretion to determine the proper disgorgement amount, which “need only be a reasonable

approximation of profits causally connected to the violation.” SEC v. Happ, 392 F.3d 12, 31 (1st

Cir. 2004); see also SEC v. Navellier & Assocs., Inc., No. 17-CV-11633-DJC, 2021 WL

5072975, at *1 (D. Mass. Sept. 21, 2021).

       Contrary to Elliott’s assertions, Liu does not foreclose joint and several liability in this

case. Liu expressly noted that “common law did . . . permit liability for partners engaged in

concerted wrongdoing.” Liu, 140 S. Ct. at 1949. Liu urged lower courts to consider the



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appropriateness of joint and several liability by assessing such factors as whether one partner

“was a mere passive recipient of profits,” if the partners commingled funds, and whether one

partner “did not enjoy the fruits of the scheme.” Id. Courts both before and after Liu have

ordered “an owner-officer and a company [to] pay disgorgement on a joint and several basis.”

Navellier & Assocs., Inc., 2021 WL 5072975, at *2-*3 (holding an entity and the entity’s Chief

Investment Officer and Chief Executive Officer jointly and severally liable for disgorgement);

see also SEC v. Esposito, et al., Civ. No. 16-cv-10960-ADB, 2018 WL 2012688, *9 (D. Mass.

April 30, 2018) (holding managing director and entity jointly and severally liable for

disgorgement); SEC v. Locke Capital Mgmt., Inc., 794 F. Supp. 2d 355, 369 (D.R.I. 2011)

(holding entity and entity's sole owner jointly and severally liable for disgorgement); SEC v.

Owings Grp., LLC, No. CV RDB-18-2046, 2021 WL 1909606, at *4 (D. Md. May 12, 2021)

(“Liu’s holding did not eliminate a court's authority to order disgorgement in a joint and several

manner. Both prior to and after Liu, this Court and other District Courts have consistently

ordered a person who controls an entity to disgorge the illegitimate funds received by that

entity.”).

        Here, joint and several liability is appropriate because Elliott, Piptastic, and DSE were

engaged in concerted wrongdoing. Elliott was the sole director of both entities and had signatory

authority over the pooled Piptastic investor bank account. The allegations of the complaint,

which the Court accepts as true, establish that Elliott freely transferred funds from the Piptastic

account to his own account, as well as DSE’s and those of third parties. Doc. No. 1 ¶ 27.

Finally, the dissolution of Piptastic and DSE has no bearing on the joint and several liability

inquiry as Elliott contends. See SEC v. Spencer Pharm. Inc., No. 12-CV-12334-IT, 2015 WL

5749436, at *6 (D. Mass. Sept. 30, 2015) (ordering disgorgement on a joint and several basis



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against a “defunct” company). Accordingly, the Court orders Elliott to pay disgorgement of

$5,492,059 in ill-gotten gains plus $856,255 of prejudgment interest.

           B.      Civil Penalties

           The SEC also requests that the Court impose civil penalties against Elliott. Though the

SEC seeks the “maximum” penalties available under the Exchange Act and the Securities Act, it

neither specifies an amount nor a process for calculating such penalties. For his part, Elliott

contends that a maximum penalty is inappropriate in these circumstances given, inter alia, his

acceptance of responsibility, financial condition, and the isolated nature of his violations. As

explained in detail below, the Court orders a civil penalty in the amount of $97,523 against

Elliott.

           Both the Securities Act and the Exchange Act permit the Court to impose a civil penalty

determined based on the facts and circumstances of the case. 15 U.S.C. §§ 77t(d)(1),

78u(d)(3)(A). “Civil penalties serve a dual purpose: to punish the wrongdoer and to deter future

violators.” Locke Cap. Mgmt., Inc., 794 F. Supp. 2d at 370. Under both Acts, courts determine

the penalty according to a three-tier scheme. “The tier determines the maximum penalty, with

the actual amount of the penalty left up to the discretion of the district court.” SEC v. Lemelson,

No. CV 18-11926-PBS, 2022 WL 952264, at *4 (D. Mass. Mar. 30, 2022) (quoting SEC v. Kern,

425 F.3d 143, 153 (2d Cir. 2005)). Tier II requires that the violation “involved fraud, deceit,

manipulation, or deliberate or reckless disregard of a regulatory requirement.” 15 U.S.C. §§

77t(d)(2), 78u(d)(3)(B). In addition to the fraud elements of Tier II, Tier III requires a showing

that “such violation directly or indirectly resulted in substantial losses or created a significant




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risk of substantial losses to other persons.” Id. Under each tier, the penalty cannot exceed the

greater of a specified amount per violation or the defendant’s gross pecuniary gain. Id.

       In assessing the appropriate penalty, courts consider “the egregiousness of the violation,

the defendant's willingness or failure to admit wrongdoing, the isolated or repeated nature of the

violations, the degree of scienter involved, the defendant's cooperation with authorities or lack

thereof, and the defendant's current financial condition.” Esposito, 2018 WL 2012688, at *9.

       Here, the SEC seeks the maximum-tier civil penalty. For a third-tier violation, the court

may impose a sanction up to the greater of $195,047 per violation or the gross pecuniary gain.

Doc. No. 68 at 10-11. A second-tier violation carries a sanction up to the greater of $97,523 or

the gross pecuniary gain. Id. Though the language of the statutes allows courts to calculate the

sanction on a per-violation basis, other courts have imposed a single penalty where, as here, the

“defendant has violated a number of securities laws in carrying out a single scheme.” Locke

Cap. Mgmt., Inc., 794 F. Supp. 2d at 370.

       The complaint details a sophisticated scheme that lasted a number of years and risked the

investments of numerous investors. However, there are countervailing facts including Elliot’s

acceptance of responsibility in this litigation and his financial condition, which is not challenged

by the SEC. The seriousness of Elliott’s conduct is therefore tempered by additional factors and

his later actions in the course of this litigation. Elliott agreed to the final judgment and

acknowledged that sanctions were warranted. The Court also takes note of Elliott’s lack of




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financial resources. In light of these factors, the Court finds that a single, second-tier penalty of

$97,523 (rather than Elliott’s gross pecuniary gain) is appropriate.

III.   MOTION TO AMEND FINAL JUDGMENT AS TO PIPTASTIC LIMITED

       Finally, the SEC seeks to amend the final judgment entered against Piptastic, Doc. No.

60, to correct an error in the calculation of the disgorgement amount attributable to Piptastic.

See Doc. No. 67 at 2 (explaining the error). The SEC’s Motion to Amend is ALLOWED. The

Clerk shall correct the error in the judgment.

IV.    CONCLUSION

       For the reasons stated herein the Court ALLOWS the SEC’s Motion for Remedies (Doc.

No. 67) and orders Elliott to pay $5,492,059 in disgorgement, $856,255 in prejudgment interest,

and a civil penalty of $97,523. Separate judgment shall issue. The Clerk shall also correct the

error in the Piptastic judgment. The SEC shall file a status report updating the Court on the

remaining issues in this case within seven days.



                                                       SO ORDERED.


                                                        /s/ Leo T. Sorokin
                                                       Leo T. Sorokin
                                                       United States District Judge




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